   Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 1 of 23 PageID 1




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

CHARLES MADDIX,

               Plaintiff,
vs.                                                Case No.:

WEKIVA SPRINGS CENTER, LLC,

               Defendant.
                                           /

                  COMPLAINT & DEMAND FOR JURY TRIAL

       Plaintiff, CHARLES MADDIX (“Plaintiff”), through undersigned counsel,

files this Complaint against Defendants, WEKIVA SPRINGS CENTER, LLC, a

foreign limited liability company, which is a wholly owned subsidiary of

UNIVERSAL HEALTH CARE SERVICES, INC., a foreign profit corporation,

(“Defendants”), and states as follows:

                      COURT JURISDICTION AND VENUE

      1.       This court has jurisdiction over the subject matter pursuant to 38

U.S.C. §4301-33, Uniformed Services Employment and Reemployment Rights Act

(hereinafter     USERRA),       the      Family   and    Medical     Leave     Act

(FMLA) of 1993, 29 U.S.C. §§2612, 2624, Americans with Disabilities Act

(“ADA”), 42 U.S.C. § 12101, and Title VII of the Civil Rights Act of 1964, as

amended, by the Civil Rights Act of 1991, 42 U.S.C. §2000e et seq. (“Title VII”).
  Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 2 of 23 PageID 2




      2.    The Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367

over this action brought under the Florida Civil Rights Act, codified at Chapter

760, Florida Statutes and the Florida Private Whistleblower Act, codified at Florida

Statute §448.102 et seq.

      3.    Declaratory, injunctive, legal, and equitable reliefs are sought pursuant

to the laws set forth above together with attorney’s fees, costs, and damages.

                           CONDITIONS PRECEDENT

      4.    Plaintiff has satisfied all conditions precedent to bringing this action in

that Plaintiff filed a charge of discrimination with the Florida Commission on

Human Relations and/or the EEOC. Plaintiff received his Notice of Suit Rights on

December 18, 2020. This action is timely brought thereafter.

                                     PARTIES

      5.    Plaintiff is a member of a class protected by law because he was

discriminated against and retaliated against by his employer, the Defendants, due

to his military status and performance of service in the Armed Forces. Plaintiff is

also a member of a protected class because he is a disabled veteran relating to his

mental health injury incurred during his service as well as his gender/sex.

      6.    At all times material to this action, Plaintiff was a resident of Duval

County, Florida.

      7.    At all times material to this action, Defendants knew of Plaintiff’s



                                          2
  Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 3 of 23 PageID 3




status as a disabled veteran of the Armed Forces of the United States as well as his

gender/sex.

      8.      At all times material to this action, Defendants was, and continued to

be, engaged in business in Florida, doing business, among other counties, in Duval

County, Florida.

      9.      At all times material to this action, SHEILA CARR, was an individual

resident of the State of Florida, who was the Chief Executive Officer of WEKIVA

SPRINGS CENTER, LLC and who regularly exercised the day-to-day authority to:

(a) hire and fire employees of WEKIVA SPRINGS CENTER, LLC; (b) determine

the work schedules for the employees of WEKIVA SPRINGS CENTER, LLC and

(c) control the finances and operations of WEKIVA SPRINGS CENTER, LLC.

By virtue of having regularly exercised that authority on behalf of WEKIVA

SPRINGS CENTER, LLC, SHEILA CARR, is/was an employer as defined 29

U.S.C. § 201, et seq and 38 U.S.C. § 4303(4)(A).

      10. At all times material to this action, MARCUS DE CARVALHO, M.D.,

was an individual resident of the State of Florida, who was a Medical Director and

managed the operations of WEKIVA SPRINGS CENTER, LLC and who regularly

exercised the day-to-day authority to: (a) hire and fire employees of WEKIVA

SPRINGS CENTER, LLC; (b) determine the work schedules for the employees of

WEKIVA SPRINGS CENTER, LLC and (c) control the finances and operations of



                                          3
  Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 4 of 23 PageID 4




WEKIVA SPRINGS CENTER, LLC. By virtue of having regularly exercised that

authority on behalf of WEKIVA SPRINGS CENTER, LLC, MARCUS DE

CARVALHO., is/was an employer as defined 29 U.S.C. § 201, et seq and 38

U.S.C. § 4303(4)(A).

      11. From approximately May 16, 2016 until his constructive termination

on March 23, 2020 Plaintiff was employed by Defendants as Psychiatric Mental

Health Nurse Practitioner.

      12. At all times material to this action, Plaintiff was an employee of

Defendants within the meaning of the applicable laws herein.

      13. At all times material to this action, Defendants were, and continue to

be, an “employer” within the meaning of the applicable laws herein.

                                INTRODUCTION

      14. Plaintiff is a member of a class protected by law because he was

discriminated against and retaliated against by his employer, the Defendants, due

to his military status and performed service in the Armed Forces. Plaintiff is also a

member of a protected class because he is a disabled veteran, request for leave

under the FMLA relating to his disability and gender/sex.

      15. In enacting the Family Medical Leave Act, as amended, 29 U.S.C. §

2601, et seq. (“the FMLA”), Congress sought to remedy its finding that employees

with serious health conditions, or to care for family members with seriously health



                                         4
  Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 5 of 23 PageID 5




conditions, have “inadequate job security” when they have to leave work for

temporary periods. See 29 U.S.C. § 2601(a)(4). The FMLA provides eligible

employees with unpaid, job-protected leave due to care for a spouse with a serious

health condition. 26 U.S.C. § 2612(a)(1). FMLA regulations require employers to

furnish employees with written guidance about their rights and obligations under

the statute, as well as written guidance about the employer's specific policies

relative to FMLA leave. 29 C.F.R. § 825.301. An employee that takes FMLA

protected leave is entitled to return to the same position after coming back to work.

29 U.S.C. § 2614(a)(1). Further, the FMLA makes it unlawful for an employer to

interfere with, restrain, or deny the exercise of or the attempt to exercise, any right

provided under the FMLA. 29 U.S.C § 2615(a)(1).

      16. Plaintiff, CHARLES MADDIX, brings this action pursuant to the

FMLA to recover from Defendants for back pay, reinstatement and in the

alternative front pay in the event reinstatement is not practical, an equal amount as

liquidated damages, other monetary damages, equitable relief, declaratory relief,

and reasonable attorneys’ fees and costs.

      17. At all times relevant to this action, Defendants failed to comply with

29 U.S.C. § 2601, et seq., because Defendants interfered with Plaintiff’s right to

take FMLA leave by changing the terms and conditions of his employment when

Plaintiff requested to take FMLA protected leave.



                                            5
  Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 6 of 23 PageID 6




      18. At all times relevant to this action, Defendants employed over 90,000

people throughout the United States and prides itself for providing medical and

behavioral health services to the general public, as well as disabled veterans.

Defendants provide Patriot Support Programs at 25 facilities around the country.

WEKIVA SPRINGS CENTER LLC, is one of the locations that provides

“Military-specific treatment and case management, crisis stabilization, and medical

detoxification, rehabilitation and mental health.”

                 STATEMENT OF THE ULTIMATE FACTS

      19. Plaintiff worked for Defendants from May 16, 2016 through March 3,

2020. He was a Full-Time salary paid employee and was hired as Psychiatric

Mental Health Nurse Practitioner (hereinafter referred to as “NP”) at the Wekiva

Springs Center, located in Jacksonville, Florida. During his employment, he was

discriminated against as a veteran based on his service related disability and his

covered disability or perceived disability as well as his gender/sex.

      20. Plaintiff is a veteran of the United States Navy, where he served as a

Naval Hospital Corpsman. Plaintiff served for four (4) years and received an

Honorable Discharge. After receiving his Honorable Discharge, Plaintiff went on

to attend school for nursing.

      21. Defendants are well aware of both Plaintiff’s veteran status, as well as

his chosen career as a Nurse Practitioner, and the glaring fact that Plaintiff was the



                                          6
  Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 7 of 23 PageID 7




only male Nurse Practitioner at WEKIVA SPRINGS CENTER, LLC.

      22. Since the time Plaintiff was hired by Defendant, Plaintiff was held to a

different standard than his female co-workers.

      23. Plaintiff reported multiple violations of practice, violations of law, and

would often object to illegal practices directly in contradiction to the Rules of the

Agency for Health Care Administration and the Florida Administrative Code for

Hospital Licensure.

      24. Plaintiff reported the illegal practices to CEO Sheila Carr, Dr. Bih

Tambie, and Dr. Raul Soto-Acosta which included improper billing. Plaintiff then

was continuously harassed by Ms. Carr after reporting these illegal violations.

      25. Sheila Carr unrelentingly harassed Plaintiff about his charting practice

which included instructing his male intern how to chart. Plaintiff has a service

related disability and requires the accommodation of assistance with charting. Ms.

Carr revoked that accommodation. The only explanation that was given to Plaintiff

was “[t]hat is how it has always been.”

      26. Plaintiff was never informed of this alleged rule. Plaintiff had always

been allowed to instruct his interns to chart. A female nurse practitioner, Gail (lnu),

was allowed to have her interns chart without reprimand.

      27.   Plaintiff reported yet another violation of law to Sheila Carr which

required that “[a]ll discharge summaries must be signed by a staff or consultant



                                          7
   Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 8 of 23 PageID 8




physician.” F.A.C. 59A-3.310(10)(d). Plaintiff made these reports in February

2020.

        28.   Sheila Carr again relentlessly harassed Plaintiff in retaliation for

Plaintiff objecting to the violations of law. Ms. Carr continued to disparately treat

Plaintiff in comparison to his female counterpart, Gail (lnu).

        29. The hostility and harassment relating to Plaintiff’s service connected

disability reached a fevered pitch requiring Plaintiff to request FMLA to treat his

service related disability. Then, on or about March 23, 2020, while Plaintiff was on

leave convalescing for the aggravation of his disability, Ms. Carr terminated

Plaintiff’s full-time employment by forcing him to work on an as needed basis.

Plaintiff subsequently suffered intense stress in relation his disability. Ms. Carr’s

harassment and overt demand to violate laws only intensified Plaintiff’s stress.

        30.   Plaintiff has been subjected to defamatory and disparaging treatment

by Defendants. Plaintiff has been discriminated against and retaliated against

based on his military service and the leave he required under the FMLA, as well

for his gender/sex.

        31.   Defendant’s actions were willful or in reckless disregard for the tenets

of the laws cited herein.

        32.   Plaintiff has retained the undersigned to prosecute the claims

articulated herein and owes a fee to the same. Defendant should be required to pay



                                           8
  Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 9 of 23 PageID 9




this fee.

                         COUNT I
  VIOLATION OF THE UNIFORMED SERVICES EMPLOYMENT AND
                REEMPLOYMENT RIGHTS ACT
       33. Plaintiff re-alleges and incorporates as if fully restated in the

allegations set forth in paragraphs 1 through 32.

       34. Defendants Wekiva Springs Center, LLC is an employer as that term is

used under the applicable statutes referenced above.

       35. The foregoing allegations establish a cause of action for unlawful

discrimination and retaliation based on Plaintiff’s military status.

       36. Defendants discriminated and retaliated against Plaintiff based on his

service related disability.

       37. Plaintiff maintains that his military status as a disabled veteran was a

substantial and determining factor in Defendants’ decision to both discriminate and

retaliate against Plaintiff as detailed in part above.

       38. Defendants’ conduct as alleged in this complaint constitutes an

unlawful employment practice in violation of USERRA.

       39. The foregoing unlawful actions by Defendants were purposeful.

       40. Plaintiff is a member of a protected class because he is a military

veteran with a service related disability, and was the victim of discrimination and

retaliation. Plaintiff required reasonable accommodations relating to his disability



                                            9
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 10 of 23 PageID 10




and was denied those accommodations and harassed because of his service. There

is thus a causal connection between his service disability, the need to seek

treatment and the adverse action taken thereafter.

       41. As a direct and proximate result of the foregoing unlawful acts and

omissions, Plaintiff has suffered mental anguish, emotional distress, expense, loss

of benefits, embarrassment, humiliation, damage to reputation, illness, lost wages,

loss of capacity for the enjoyment of life, and other tangible and intangible

damages.

                               COUNT II
                   FMLA – INTERFERENCE/RETALIATION

       42. Plaintiff re-alleges and incorporates as if fully restated in the

allegations set forth in paragraphs 1 through 32.

       43. At all times relevant hereto, Defendants Wekiva Springs Center, LLC

interfered with Plaintiff’s right to take leave from work under the FMLA and then

retaliated against Plaintiff after his request.

       44. At all times relevant hereto, Defendants’ interference with Plaintiff’s

right to take leave from work violated the FMLA. This is therefore an interference

and retaliation claim pursuant to the FMLA.

       45. Defendants interfered with the exercise of Plaintiff’s right to FMLA

leave by discharging him prior to the expiration of the 12 weeks of FMLA leave to

which he would have been entitled. Defendants forced Plaintiff’s discharge in

                                            10
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 11 of 23 PageID 11




retaliation for him requesting FMLA leave.

      46. As a result of Defendants’ intentional, willful and unlawful acts by

interfering with Plaintiff’s rights pursuant to the FMLA, Plaintiff has suffered

damages and incurred reasonable attorneys’ fees and costs.

      47. Because Defendants cannot show that its violation of the FMLA was in

good faith Plaintiff is entitled to liquidated damages.

      48. Defendants’ violation of the FMLA was willful, as Defendants

engaged in the above-described actions while knowing that same were

impermissible under the FMLA.

      49. Defendants are liable for the differential treatment of Plaintiff which

adversely affected the terms and conditions of Plaintiff’s employment with

Defendants. Defendants controlled the actions and inactions of the persons making

decisions affecting Plaintiff or it knew or should have known of these actions and

inactions and failed to take prompt and adequate remedial action or took no action

at all to prevent the abuses to Plaintiff.

      50. In essence, the actions of agents of Defendants, which were each

condoned and ratified by Defendants, were disability/perceived-disability based

and in violation of the laws set forth herein.

      51. As a direct and proximate result of Defendants’ conduct described

above, Plaintiff has suffered emotional distress, mental pain and suffering, past and



                                             11
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 12 of 23 PageID 12




future pecuniary losses, inconvenience, mental anguish, loss of enjoyment of life

and other non-pecuniary losses, along with lost back and front pay, interest on pay,

bonuses, and other benefits.      These damages have occurred in the past, are

permanent and continuing.

       52. Plaintiff is entitled to compensatory and punitive damages as provided

for, and limited by, 42 U.S.C. 1981(a)(1) and (b), reasonable attorney's fees,

including expert fees, as provided for, and limited by, 42 U.S.C. 1988(b) and (c),

and injunctive relief, including reinstatement and hiring, back pay, and other

equitable remedies as provided for, and limited by, 42 U.S.C. 2000e-5(g).

                           COUNT III
   DISABILITY / PERCEIVED DISABILITY DISCRIMINATION UNDER
                          THE ADAAA
      53.    Plaintiff re-alleges and incorporates as if fully restated in the

allegations set forth in paragraphs 1 through 32.

      54.    Plaintiff was a qualified individual with a disability recognized under

the ADAAA.

      55.    Plaintiff was disabled/perceived as disabled by Defendants. Plaintiff

advised Defendants of his need to treat his mental health condition caused by his

military service. Defendants were fully aware of Plaintiff’s condition and

intentionally acted to exacerbate the symptoms of Plaintiff’s disability.

      56.    Defendants were Plaintiff’s employer as defined by the ADAAA.



                                          12
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 13 of 23 PageID 13




      57.    Defendants discriminated against Plaintiff because of his actual or

perceived disability in violation of the ADAAA.

      58.    Defendants discriminated against Plaintiff because he exercised his

rights under the ADAAA by notifying Defendants of his need for a work

accommodation related to his service connected disability. Plaintiff requested a

reasonable accommodation to try and work a different position. Defendants did not

give Plaintiff a reasonable accommodation and refused to engage in the interactive

process.

      59.    Defendants had actual or constructive knowledge of the discriminatory

conduct. Defendants gave Plaintiff only the option of taking a position without

accommodation.

      60.    Defendants’ acts and omissions negatively affected one or more terms,

conditions and/or privileges of Plaintiff’s employment. Defendants did not

reasonably accommodate Plaintiff.

      61.    Defendants’ conduct violated Plaintiff’s right to be free from

discrimination as guaranteed by the ADAAA. Defendants’ were required to

accommodate Plaintiff and offer a position of employment that Plaintiff could

perform without causing further injury to Plaintiff.

      62.    Plaintiff has no plain, adequate or complete remedy at law for the

actions of Defendants, which have caused and continue to cause irreparable harm.



                                          13
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 14 of 23 PageID 14




      63.     Defendants’ violations of the ADAAA were willful or in reckless

disregard of the tenets of the same.

      64.     Plaintiff is entitled to recover his attorneys’ fees and costs pursuant to

the ADAAA.

                                COUNT IV
                      RETALIATION UNDER THE ADAAA
      65.     Plaintiff re-alleges and incorporates as if fully restated in the

allegations set forth in paragraphs 1 through 32.

      66.     Plaintiff was a qualified individual with a disability recognized under

the ADAAA.

      67.     Plaintiff was disabled or perceived as disabled by Defendants.

      68.     Defendants were Plaintiff’s employer as defined by the ADAAA.

      69.     Defendants retaliated against Plaintiff because, in part, of his request

for a reasonable accommodation—this retaliation is in violation of the ADAAA.

Defendant fired Plaintiff because Defendant did not want to provide a reasonable

accommodation for Plaintiff. Defendant became abusive after Plaintiff reported the

violations relating to his disability he saw through his employment with

Defendants.

      70.     Defendants retaliated against Plaintiff because he exercised his rights

under the ADAAA by notifying Defendants of his need for a work accommodation

related to his disability. Defendants retaliated against Plaintiff and refused to return


                                           14
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 15 of 23 PageID 15




Plaintiff to work.

      71.    Defendants had actual or constructive knowledge of the retaliatory

conduct.

      72.    Defendants’ acts and omissions negatively affected one or more terms,

conditions and/or privileges of Plaintiff’s employment. Defendants were required to

reasonably accommodate Plaintiff and Defendants blatantly refused to do so.

      73.    Defendants’ conduct violated Plaintiff’s right to be free from

retaliation as guaranteed by the ADAAA.

      74.    Plaintiff has no plain, adequate or complete remedy at law for the

actions of Defendants, which have caused and continue to cause irreparable harm.

      75.    Defendants’ violations of the ADAAA were willful or in reckless

disregard of the tenets of the same.

      76.    Plaintiff is entitled to recover his attorneys’ fees and costs pursuant to

the ADAAA.

                         COUNT V
    DISCRIMINATION BASED ON GENDER / SEX IN VIOLATION OF
                         TITLE VII
      77.    Plaintiff re-alleges and incorporates as if fully restated in the

allegations set forth in paragraphs 1 through 32.

      78.    Plaintiff is member of a protected class due to his gender and/or sex as

Plaintiff was a male nurse in a predominantly female dominated industry and the



                                          15
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 16 of 23 PageID 16




only gay male nurse at the facility.

       79.   Defendants treated the only gay male nurse at Wekiva Springs Center

differently by placing different work conditions on Plaintiff and disparately

enforcing rules against Plaintiff and not enforcing those same rules as against

female nurses. Defendants engaged in unlawful employment practices and

discriminated against plaintiff on the basis of his gender / sex in violation of Title

VII.

       80.   Defendant knew or should have known of the discrimination.

Defendants’ CEO’s, managers, and supervisors approved of this conduct and also

engaged in the willful discriminatory conduct.

       81.   The above discrimination was done by Defendants with a reckless

disregard for Plaintiff’s rights under federal law. As a direct and proximate result of

the discrimination described above, Plaintiff has suffered and continues to suffer

loss of employment, loss of income, loss of other employment benefits and has

suffered and continues to suffer mental anguish, distress, humiliation, great expense

and loss of enjoyment of life.

                            COUNT VI
         DISCRIMINATION - CHAPTER 760, FLORIDA STATUTES

       82.   Plaintiff re-alleges and incorporates as if fully restated in the

allegations set forth in paragraphs 1 through 32.

       83.   Plaintiff was disabled/perceived as disabled by Defendants and is a gay

                                          16
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 17 of 23 PageID 17




male nurse.

      84.     This is an action against Defendants for disability discrimination

brought under Chapter 760, Florida Statutes as it relates to Plaintiff’s mental health

disability which was incurred in or aggravated by his military service as well as for

discrimination based on Plaintiff’s gender/sex.

      85.     Plaintiff has been the victim of discrimination on the basis of his

disability or perceived disability. During the course of Plaintiff’s employment with

Defendants,    he      was   treated   differently   than   similarly   situated   non-

disabled/perceived-as-disabled employees. Plaintiff was discriminated against based

on his disability and was treated differently than his female counterparts.

      86.     Defendants are liable for the differential treatment and/or refusal to

accommodate Plaintiff, which adversely affected the terms and conditions of

Plaintiff’s employment with Defendants. Defendants controlled the actions and

inactions of the persons making decisions, such as CEO, Ms. Carr, affecting

Plaintiff or it knew or should have known of these actions and inactions and failed

to take prompt and adequate remedial action or took no action at all to prevent the

abuses to Plaintiff.

      87.     In essence, the actions of agents of Defendants, which were each

condoned and ratified by Defendants, were disability/perceived-disability based

and/or gender/sex based and in violation of the laws set forth herein. Defendants’



                                            17
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 18 of 23 PageID 18




agents advised Plaintiff they that the violations of law were not of importance.

Plaintiff did not want to switch to a different position and wanted to continue

working at with Defendants, as long as Defendants complied with the applicable

law.

       88.    The discrimination complained of herein affected a term, condition, or

privilege of Plaintiff’s continued employment with Defendants. The events set forth

herein lead, at least in part, to Plaintiff’s termination.

       89.    Defendants’      conduct     and     omissions   constitute   intentional

discrimination and unlawful employment practices.

       90.    As a direct and proximate result of Defendants’ conduct described

above, Plaintiff has suffered emotional distress, mental pain and suffering, past and

future pecuniary losses, inconvenience, bodily injury, mental anguish, loss of

enjoyment of life and other non-pecuniary losses, along with lost back and front

pay, interest on pay, bonuses, and other benefits. These damages have occurred in

the past, are permanent and continuing. Plaintiff is entitled to punitive damages and

to injunctive relief.

                         COUNT VII
       RETALIATION UNDER CHAPTER 760, FLORIDA STATUTES
       91.      Plaintiff re-alleges and incorporates as if fully restated in the

allegations set forth in paragraphs 1 through 32.

       92.    Defendant is an employer as that term is used under the applicable


                                             18
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 19 of 23 PageID 19




statutes referenced above.

      93.      The foregoing allegations establish a cause of action for unlawful

retaliation after Plaintiff engaged in protected activity under Chapter 760, Florida

Statutes, and other statutory provisions cited herein.

      94.      Under Fla. Stat. § 760.10(7), “It is an unlawful employment practice

for an employer, an employment agency, a joint labor-management committee, or a

labor organization to discriminate against any person because that person has

opposed any practice which is an unlawful employment practice under this section,

or because that person has made a charge, testified, assisted, or participated in any

manner in an investigation, proceeding, or hearing under this section.” Plaintiff was

terminated from his full-time position after he disclosed the violations of law to his

supervisors.

      95.      To establish a prima facie retaliation case, Plaintiff is required to

demonstrate 1) statutorily protected expression, 2) an adverse employment action,

3) a causal connection between the participation in the protected expression and the

adverse action. Plaintiff complained about his treatment relating to his disability

and the disparate treatment relating to his gender/sex.

      96.      The foregoing unlawful actions by Defendant were purposeful.

      97.      Furthermore, Plaintiff engaged in protected activity by asking for

reasonable accommodation(s) during Plaintiff’s employment with Defendants and



                                           19
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 20 of 23 PageID 20




was the victim of retaliation thereafter, as related in part above.

      98.    Plaintiff is a member of a protected class and Plaintiff engaged in

protected activity and was the victim of retaliation immediately thereafter. There is

thus a causal connection between the requesting of a reasonable accommodation(s)

and the adverse employment action taken thereafter.

      99.    As a direct and proximate result of the foregoing unlawful acts and

omissions, Plaintiff has suffered mental anguish, emotional distress, expense, loss

of benefits, embarrassment, humiliation, damage to reputation, illness, lost wages,

loss of capacity for the enjoyment of life, and other tangible and intangible

damages. These damages are continuing and are permanent. Plaintiff is entitled to

punitive damages and to injunctive relief.

                         COUNT VIII
  VIOLATION OF FLORIDA’S PRIVATE SECTOR WHISTLE-BLOWER
           ACT, FLA STAT §448.102 AS TO DEFENDANT

      100. Plaintiff re-alleges and incorporates as if fully restated in the

allegations set forth in paragraphs 1 through 32.

      101. Florida Statute §448.102 et seq., expressly provides that an employer

may not take any retaliatory action against an employee because the employee has

“objected to, or refused to participate in, any activity, policy, or practice of the

employer which is in violation of a law, rule, or regulation.”

      102. Plaintiff objected to HR and to CEO Carr about Defendants’ failure to



                                           20
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 21 of 23 PageID 21




grant accommodations required by his service disability and his unfair treatment

due to his gender/sex. Plaintiff reported his objections to his supervisor and/or HR

and engaged in protected activity pursuant to Fla. Stat. § 448.102. Defendants

terminated Plaintiff’s full-time employment within one month of engaging in

protected activity. Therefore there is a direct causal link between the protected

expression and adverse action against Plaintiff.

      103. At all times material to this action, Plaintiff was an employee of

Defendants within the meaning of Florida Statutes §448.101(2).

      104. At all times material to this action, Defendants were an “employer”

within the meaning of Florida Statutes §448.101(3) and regularly employed more

than ten (10) persons.

      105. Defendants violated Florida Statutes §448.102 by taking retaliatory

personnel actions against Plaintiff, to include formally disciplining, changing the

terms and conditions of employment and ultimately terminating Plaintiff’s full-time

employment, because of Plaintiff’s complaints to Defendants which he possessed a

good faith, objectively reasonable belief that Defendants’ actions were violations of

the Florida and/or Federal law.

      106. Defendants and/or its agents, managers, and supervisors actively and

knowingly participated in the retaliatory actions taken against Plaintiff having

actual knowledge and/or constructive knowledge of the wrongfulness of their



                                          21
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 22 of 23 PageID 22




conduct and the high probability that injury and/or damage to Plaintiff would result,

and/or acted with such reckless disregard for, or with an absence of reasonable care,

as to constitute a conscious disregard for, or indifference to, Plaintiff’s statutorily

protected rights, and/or acted with such gross negligence that Defendants

contributed to Plaintiff’s damages, injuries, and losses.

       107. As a direct, proximate, and foreseeable result of Defendants’ actions,

Plaintiff has suffered past and future pecuniary losses, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, loss of dignity, severe

emotional distress, humiliation, and other non-pecuniary losses and intangible

injuries.

                              PRAYER FOR RELIEF

        WHEREFORE Plaintiff, CHARLES MADDIX, demands judgment against

Defendants, for the following:

              (a)   that process issue and this Court take jurisdiction over this case;

              (b)   that this Court grant equitable relief against Defendants under

                    the applicable counts set forth above, mandating Defendants’

                    obedience to the laws enumerated herein and providing other

                    equitable relief to Plaintiff;

              (c)   enter judgment against Defendants and for Plaintiff awarding

                    all legally-available general and compensatory damages as well



                                           22
 Case 3:21-cv-00305-TJC-JK Document 1 Filed 03/17/21 Page 23 of 23 PageID 23




                    as punitive damages and economic loss to Plaintiff from

                    Defendants for Defendants’ violations of law enumerated

                    herein;

             (d)    enter judgment against Defendants and for Plaintiff

                    permanently enjoining Defendants from future violations of law

                    enumerated herein;

             (e)    enter judgment against Defendants and for Plaintiff awarding

                    Plaintiff attorney's fees and costs;

             (f)    award Plaintiff interest where appropriate; and

             (g)    grant such other further relief as being just and proper under the

                    circumstances, including but not limited to reinstatements

                        DEMAND FOR TRIAL BY JURY

Plaintiff hereby demands a trial by jury on all issues herein that are so triable.

DATED this 17th day of March, 2021.

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                                           23
